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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


 LAFAYETTE CITY-PARISH                          CASE NO. 6:22-CV-00146
 CONSOLIDATED GOVERNMENT

 VERSUS                                         JUDGE DAVID C. JOSEPH

 MORBARK L L C ET AL                            MAGISTRATE JUDGE CAROL B.
                                                WHITEHURST

                     MINUTES AND ORDER SETTING TRIAL

        A telephone scheduling conference was held on February 17, 2022, starting at

 10:00 a.m. and ending at 10:15 a.m.1 Participating in the conference, along with the

 undersigned Magistrate Judge, were the following:

     • Michael Adley on behalf of Lafayette City-Parish Consol. Government;

     • Paul Lavelle and Sarah Reid on behalf of Morbark LLC;

     • Vanessa Anseman and Michael Ishee on behalf of WL Doggett LLC; and

     • Patrick O’Cain on behalf of Caterpillar Inc.

        Following discussion, the parties agreed as to the following selected trial and

 pretrial conference dates. Accordingly,




 1
        Statistical time: 15 minutes.
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      IT IS ORDERED that a jury trial is SET for March 13, 2023 before Judge

 Joseph. The pretrial conference is SET for February 23, 2023 at 10:00 a.m. in

 chambers with Judge Joseph.

      Signed at Lafayette, Louisiana, this 17th day of February, 2022.



                                      ____________________________________
                                      CAROL B. WHITEHURST
                                      UNITED STATES MAGISTRATE JUDGE




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